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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


INMAR, INC. and COLLECTIVE BIAS, INC.,

                               Plaintiffs,              Case No.:

               -v-                                      Judge:

MONICA MURPHY VARGAS and MLW
SQUARED, INC. d/b/a AHALOGY,                            JURY TRIAL DEMANDED

                               Defendants.



                 COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF
       Plaintiffs Inmar, Inc. (“Inmar”) and Collective Bias, Inc. (“Collective Bias”) (together

“Plaintiffs”) file this Complaint for Injunctive and Other Relief against Defendants Monica

Murphy Vargas (“Murphy”) and MLW Squared, Inc. d/b/a Ahalogy (“Ahalogy,” and together

with Murphy, “Defendants”).

                                  NATURE OF THE ACTION

   1. This is a case about a former employee violating her non-compete, non-solicitation, and

non-disclosure of confidential information agreements with her former employer; stealing from

that former employer; and her new employer assisting, encouraging, and benefitting from that

former employee’s unlawful conduct.

   2. Defendant Murphy was an employee of Plaintiffs for approximately two years, during

which time she had access to and made use of Plaintiffs’ confidential and proprietary information

in the course of her employment. Consequently, she was asked, and agreed, to be bound by

contracts with Plaintiffs that required her to maintain the confidentiality of that information

during and after her employment. Plaintiffs have learned, however, that notwithstanding those


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agreements, Defendant Murphy stole that information and used it for her own benefit and that of

her new employer, Defendant Ahalogy.

   3. Furthermore, Defendant Murphy also promised that if she left the employment of

Plaintiffs, she would not immediately go to a competitor or attempt to steal Plaintiffs’ clients.

Plaintiffs have learned that Defendant Murphy violated those promises, too—after she left

Plaintiffs, she accepted a position at Defendant Ahalogy (a company she knew was a direct

competitor of Plaintiffs) and began stealing and attempting to steal Plaintiffs’ confidential and

proprietary information and clients.

   4. In sum, Defendants Murphy and Ahalogy have engaged in a systemic and unlawful effort

to undermine Plaintiffs’ business. Plaintiffs are entitled to an injunction to stop this activity, and

damages to compensate them for it.

                                 JURISDICTION AND VENUE

   5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because Count

One is brought pursuant to the federal Defend Trade Secrets Act and Count Five is brought

pursuant to the federal Computer Fraud and Abuse Act, and pursuant to 18 U.S.C. § 1836(c),

which provides that “[t]he district courts of the United States shall have original jurisdiction of

civil actions brought under [the Defend Trade Secrets Act].”

   6. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1367 because

Counts Two through Four and Counts Six through Ten are together related to and form part of

the same case and controversy as Counts One and Five.

   7. The Court has personal jurisdiction over the Defendants.




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    8. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to the claims occurred in this District and a substantial part

of property that is the subject of the action is situated in this District.

                                               PARTIES

    9. Plaintiff Inmar is a North Carolina Corporation. Its primary place of business and

corporate headquarters is located at 635 Vine St., Winston Salem, North Carolina.

    10. Plaintiff Collective Bias is a Delaware Corporation. Its primary place of business and

corporate headquarters is located at 1750 S. Osage Springs Dr., Rogers, Arkansas. It is a

subsidiary of Inmar.

    11. Defendant Murphy is an individual and resident of Illinois.

    12. Defendant Ahalogy is a Delaware Corporation. Its primary place of business and

corporate headquarters is located at 3197 Linwood Ave., Cincinnati, Ohio.

                                                FACTS

Collective Bias and its Business

    13. Collective Bias is an influencer marketing company based in Arkansas with other offices

and employees in San Francisco, Minneapolis, Chicago, Cincinnati, and New York City. It was

one of the first companies to enter the modern influencer-marketing space in 2009, and it is a

leader in modern influencer marketing and its measurement.

    14. Influencer marketing is a form of marketing where a seller leverages the popularity and

credibility of specific individuals to market a product in a testimonial manner.

    15. Traditional influencer marketing often took the form of celebrity endorsements of

products in marketing and advertising materials, wherein a celebrity (presumed to be influential




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based on that celebrity) received payment to endorse a product, and that endorsement was placed

in traditional mass media (a television advertisement or a magazine).

      16. Modern influencer marketing, however, eschews that model in favor of using a broader

array of individuals who wield measurable influence (through “likes” and “followers”, for

example) on a broader array of platforms, particularly social media (such as Facebook,

Instagram, Twitter, Snapchat, Pinterest, YouTube, and various blogs).

      17. Traditional influencer marketing is relatively simple; it might involve filming a television

commercial in which a celebrity endorses a product that the celebrity is seen using (such as

Lucille Ball and Desi Arnaz endorsing Phillip Morris brand cigarettes during the I Love Lucy

television program).1 The message is simple: someone famous, wealthy, or attractive (and likely

all three) uses the product, and if you want to be famous, wealthy, and/or attractive (or perceived

as such), you should use the product, too.

      18. Much of modern influencer marketing, on the other hand, is more complex and the

message involves more substance: the premise is that someone who is a lot like you (i.e., who

shares your background, interests, and/or lifestyle) shows you that they use a product, explains

how and why they use that product in their everyday life, and explains how and why you might

want to, too. Modern influencer marketing also often uses dozens of influencers for a particular

campaign as opposed to using a single celebrity endorser.

      19. For example, http://millionmoments.net is a blog written by “Jess,” who describes herself

in part as follows:

         I’m Mama to Judah and Kaia, two crazy kids that rock my world. I’m a huge DIY
         fan who loves working with my hands. My garden is my pride and joy, my camera
         goes just about everywhere I go. A Million Moments is a blog about family, food,
         crafts, travel, and all things creative with an emphasis on stellar photography. I am

1
    https://www.youtube.com/watch?v=z1ALtcAO69M


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          passionate about vegetarian cooking and providing a full, natural and fun life for
          my kids the best way I know how. We live a laid back life, we love the outdoors,
          and trying new things is deeply important to us.2


      20. When a Collective Bias client wanted to promote its products through influencer

marketing, Collective Bias coordinated with Jess and influencers like her, and Jess and those

other influencers authored blog posts explaining what they liked about the product and ways to

use the product (in Jess’s case, by providing step-by-step instructions for creating a gift basket

featuring the product).3

      21. This type of marketing activity is much more targeted and its impact much more

measurable. To be most effective, it requires (i) a detailed understanding of the sellers’ business

and product or service being offered (in order to identify influencers who might be interested in

the product or service and able to credibly represent their interest in and use of the product) and

(ii) familiarity and relationships with many thousands of influencers and an understanding of

their followers (in order to identify which would most effectively reach buyers of the product or

service).

      22. In order to sell one’s influencer marketing services effectively, one must also research

and develop contacts among the sellers and have a thorough understanding of their business and

marketing plans and priorities.

      23. Collective Bias has spent years and millions of dollars not only developing the

knowledge of products and influencers in order to offer the best services to its clients, but also




2
    http://millionmoments.net/about
3
    http://millionmoments.net/2013/12/adorable-last-minute-diy-gift-bigelow-tea.html



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developing contacts at major brands and building dossiers regarding those brands in order to

most effectively sell its influencer marketing services to those brands.

   24. For example, Collective Bias has invested significant time and money in developing its

Social Fabric® community, Shopper Social Media™ platform, and Prescriptive IQ™ platform.

   25. Social Fabric® is a technology platform that was created using proprietary research

strategies to help Collective Bias identify influencers for particular products and services, as well

as to provide opportunities for those influencers.

   26. Shopper Social Media™ is a technology platform that leverages a variety of data points

(including data generated by Social Fabric®) to improve efficiency and effectiveness of

influencer marketing efforts.

   27. Prescriptive IQ™ is a platform that analyzes and synthesizes purchase data from Inmar,

social data, market research, and engagement data in order to generate a marketing strategy

recommendation (i.e., which influencers to use in order to ensure that the campaign reaches the

right audience with the right content in the right place at the right time).

   28. These services were built with proprietary research and they use proprietary methods to

harness the power of consumer recommendation and endorsement across thousands of websites

and millions of social media connections to connect authentic, real-life influencer content with

key audiences using advanced analytics and behavior tracking. These platforms (along with the

data gathered to build them and the data gathered through them) set Collective Bias apart from

its competitors by enabling it to provide services and insights at a level that its competitors

cannot.




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Collective Bias Hires Defendant Murphy

   29. On or about November 19, 2015, Defendant Murphy accepted an offer of employment

with Collective Bias to serve as its Senior Director of Business Development.

   30. In exchange for the offer of new employment, Defendant Murphy was asked to (and

agreed to) sign an employment agreement (the “Employment Agreement”), a copy of which is

attached hereto as Exhibit A and incorporated herein by reference.

   31. Following execution of the Employment Agreement, Defendant Murphy became a

fulltime employee of Collective Bias.

   32. To facilitate the performance of her duties, Defendant Murphy was issued a keycard to

access Collective Bias’s secure facilities, issued a laptop computer on which to conduct business,

and provided with an email account and login credentials that provided her access to Collective

Bias’s interstate computer network. Defendant Murphy’s duties included using that laptop,

email account, login credentials, and interstate computer network to communicate with

Collective Bias’s employees, clients, and prospective clients, all of whom are and were at all

relevant times located nationwide.

   33. As the Senior Director of Business Development, Defendant Murphy had numerous

responsibilities, including:

           a. Being an expert on all things social media, Collective Bias history, product

               offerings, positioning, pricing, and competitor differences;

           b. Developing, managing, and tracking a territory/account plan to meet quarterly and

               annual sales goals;




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            c. Effectively prospecting potential clients through personal consumer packaged

               goods, retail, agency, and supplier networks and other lead sources (including

               cold calling);

            d. Understanding client business objectives, proposing and closing strategic

               solutions leveraging Collective Bias products, rate card, budget template, and

               timeline standards;

            e. Retaining existing business and continually searching for ways to grow that

               business;

            f. Utilizing salesforce.com for prospect tracking, opportunity identification and

               internal communication;

            g. As the primary sales conduit for assigned clients, attending kick-off, post-analysis

               and other important meetings with clients as a means to sell additional Collective

               Bias services; and

            h. Collaborating with specified Client Services teams to oversee accounts from

               proposal through post-analysis to resell.

   34. In that role, Defendant Murphy had access to and made use of Collective Bias’s property

and its confidential and proprietary information, including information regarding Collective

Bias’s product offering, positioning in the market, pricing, competitive differentiators, territory

and account plans, lead sources, client business objectives, rate cards, budget templates, timeline

standards, business opportunities, client lists, decision-maker contact information, and research

dossiers.




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   35. Defendant Murphy also had access to the propriety aspects of the Social Fabric®

community, Shopper Social Media™ platform, and Prescriptive IQ™ platform, and used that

information in the performance of her duties.

Inmar Acquires Collective Bias

   36. Inmar is a technology and data science company with offices throughout the United

States that provides insights and solutions to the following groups:

           a. to manufacturers to help them engage shoppers, optimize logistic efficiencies, and

               protect assets;

           b. to retailers to help them drive traffic, maximize storewide profitability, and reduce

               unsaleable products;

           c. to hospitals, health systems, and pharmacies to help them enhance operations,

               protect profitability, and improve patient outcomes;

           d. to government agencies to help them handle their revenue recovery, inventory

               management, business analytics, and consumer technology programs; and

           e. to shoppers to help them access promotions, care for their families, and live

               healthier lives.

   37. In or around December 2016, Inmar acquired Collective Bias. After the transaction,

Collective Bias retained its name and continued to operate as its own entity, but its employees

were required to sign another agreement with Inmar—the Confidential and Proprietary Rights

Assignment Agreement (the “CAPRAA”).

   38. In exchange for employment with Inmar and the additional benefits associated

therewith, Defendant Murphy was asked, and agreed, to sign the CAPRAA, a copy of which is

attached hereto as Exhibit B and incorporated herein by reference.




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      39. Defendant Murphy continued to have access to and use Collective Bias’s property and its

confidential and proprietary information, but now also had access to and used Inmar’s property

and confidential information.

Ahalogy and its Business

      40. Ahalogy, like Collective Bias, is an influencer marketing company. It describes itself as

a company that “deliver[s] proven [return on investment] through category trend data, authentic

influencer content, and social optimization technology.”4

      41. Ahalogy engages in the same form of modern influencer marketing as does Collective

Bias. For example, Ahalogy highlights on its website a program it implemented for a client,

explaining: “When it comes to inspiring readers with one-of-a-kind recipes and new ways to use

their favorite products, influencers do it best. See how our Partners helped drive awareness of

7UP at Target with our data-driven Brandables solution. The seasonal cocktail recipes were

inspired by ingredient trend data discovered in Muse.”5

      42. One of those cocktail recipes was authored by “Madison” on her blog

https://www.joyfullymad.com, who describes herself as follows:

          Hey y’all! Welcome to A Joyfully Mad Kitchen, I’m so glad you found this space!
          I’m Madison and I am the recipe developer, taste-tester, food photographer, and
          writer behind this blog.
          ....
          On this blog you’ll find the tried and true recipes that my family and I eat and love
          to serve to friends and family. Each of the recipes on this blog is food that we
          actually eat in our house. With a toddler in our family, I’ll always try to share
          recipes that the whole family will enjoy – but I won’t blame you if you hide the
          cupcakes from your kids. I get it. ;)6




4
    http://www.ahalogy.com/about
5
    http://www.ahalogy.com/muse
6
    https://www.joyfullymad.com/about-me/


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      43. The blog post on A Joyfully Made Kitchen that Ahalogy coordinated explained what

Madison liked about shopping at Target and why she used 7Up in her recipe (and provided step-

by-step instructions for creating a Cherry Sorbet Bellini party cocktail).7

      44. Ahalogy touts its own propriety services “Muse” and “Brandables,” and claims that

“Muse is the only place to find influencer trend data.”8

      45. Ahalogy also expressly compares itself to Collective Bias when pitching new clients,

claiming that in a competition between the two, “Ahalogy wins” because its products are

supposedly more effective in reaching potential consumers.

      46. Ahalogy also offers products and services that compete with Inmar’s products and

services, claiming to have access to significant amounts of data that permit it to advise on

engagement with shoppers and help retailers drive traffic and maximize storewide profitability.

      Defendant Murphy Leaves Plaintiffs for Ahalogy

      47. Defendant Murphy knew that Ahalogy was a direct competitor of Plaintiffs—she was

told precisely that by another employee of Plaintiffs. Indeed, she publicly admitted in January

2018 that she has been in the same line of work for the last five years: influencer marketing.9

      48. Nevertheless, on or about July 12, 2017, and for the express purpose of discussing

potential employment at Ahalogy, Defendant Murphy authorized a recruiter from a talent firm

called Hunt Club to contact her at the work email address provided to her by Collective Bias.

      49. Indeed, when she authorized the recruiter to reach out to her, Defendant Murphy knew

that the recruiter was reaching out regarding the position of Director of Sales – West at Ahalogy,




7
    https://www.joyfullymad.com/cherry-sorbet-bellini/
8
    http://www.ahalogy.com/muse
9
    http://www.ahalogy.com/blog/the-new-ahalogists-were-expanding-our-team-in-cincinnati-3


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and she knew that the role would entail leading sales efforts to grow Ahalogy’s influencer and

content marketing business: the email she received included a detailed job description.

   50. The job description and qualifications for the role at Ahalogy that Defendant Murphy

received is nearly identical to the job description for the role she held at Collective Bias (copies

of which are attached as Exhibits C and D):

       Collective Bias: A Director of Business Development builds relationships and
       closes business for Collective Bias. This position will ideally be part “hunter”/part
       “strategist”. Typical clients consist of shopper marketing budget holders at brands
       (primarily CPG), brands themselves, retailers and agencies. Direct contacts are
       usually at senior manager/director level positions, but also include VP/CMO. A
       Director of Business Development at CB should have an entrepreneurial spirit, be
       a good listener, lean in mentality and be passionate about social media.

       Ahalogy: As a Sales Director at Ahalogy you will lead all sales efforts to grow their
       influencer and Content Marketing business with large brands and agencies in the
       Western region. Sales Directors are the backbone of each region, acting as the first
       line of offense in territory account acquisition. The focus of the role is on opening
       new relationships and delivering a growing amount of RFP opportunities from the
       agencies and brands you have met with. You will be supported by strong, dedicated
       SDR and Client Success resources, which help secure meetings and deliver
       proposals.

   51. Likewise, the description of duties and qualifications overlap, with some examples

highlighted below:

                       Ahalogy                                       Collective Bias

     “Fluency in digital media vernacular with a “Be an expert on all things social media” and
     deep interest in native social platforms (e.g., “knowledge and understanding of social
     Pinterest, Twitter, Facebook)”                  media platforms”

     “Act as a first line of offense for product “Be an expert on . . . product offering,
     demos, proposals, pricing” and “evangelize positioning, pricing, and competitor
     the Ahalogy solution”                       differences”

     “Prospect within the Western territory”          “Effectively prospect potential clients”

     “Meet and exceed individual and team “Develop,      manage,     and    track    a
     revenue targets”                     territory/account plan to meet quarterly and
                                          annual sales goals”



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     “Experience routinely closing five and six- “Proven ability to identify and close $100K+
     figure contracts”                           deals”

     “Preferred experience with CPG and Retail “Typical clients consist of shopper marketing
     Brands, and Shopper marketing experience” budget holders at brands (primarily CPG),
                                               brands themselves, retailers and agencies”



   52. Shortly thereafter, Ahalogy interviewed Defendant Murphy and eventually offered her

the role of Director of Sales at Ahalogy. Their reasoning for doing so was clear in their job

description—if the Director of Sales was to be the “first line of offense,” there could be no better

weapon than an employee who held that same role at their main competitor.

   53. Defendant Murphy did not inform Plaintiffs of her impending departure until early

evening on August 24, 2017.

   54. After accepting the offer from Ahalogy but prior to notifying Plaintiffs, Defendant

Murphy, for her own personal benefit and for the benefit of Ahalogy, accessed and collected

Plaintiffs’ confidential information using her credentials to access Plaintiffs’ computer systems

and facilities, her work-issued computer, and her Collective Bias email account. Those actions

included (but were not limited to) sending the following information to her personal email

account:

           a. On August 4, 2017, Defendant Murphy forwarded an internal email from earlier

               that day containing (i) the names and contact information for decision-makers at a

               client, (ii) an explanation of the service Plaintiffs were offering and how the

               service worked, and (iii) a summary of Plaintiffs’ discussions with the client and

               the business development plans for this client.




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     b. On August 14, 2017, Defendant Murphy forwarded an internal email from earlier

        that week containing research conducted by Plaintiffs regarding the nationwide

        distribution of brand names for a client and discussing how this research would be

        helpful for more accurate targeting.

     c. Later that same day, Defendant Murphy forwarded another internal email from

        earlier that week containing (i) research conducted by Plaintiffs regarding a

        client’s pricing and marketing strategies, and (ii) a discussion regarding

        opportunities for Plaintiffs to pitch their business or modify their pitch to the

        client based on such research.

     d. On August 15, 2017, Defendant Murphy forwarded an internal email from earlier

        that day containing (i) Plaintiffs’ research regarding a client’s challenges with

        regard to sales, and (ii) a discussion regarding how Plaintiffs should respond.

     e. On August 17, 2017, Defendant Murphy forwarded an internal email from the

        prior day containing (i) Plaintiffs’ research regarding a client’s marketing

        priorities, (ii) a discussion regarding how Plaintiffs should respond, and (iii) a list

        of over a dozen potential clients with whom Plaintiffs had recently been

        negotiating.

     f. Shortly thereafter, Defendant Murphy forwarded an internal email from that

        morning containing (i) Plaintiffs’ research regarding developments in a subset of

        the beverage industry and (ii) the identity of a contact to provide leads for new

        business.

     g. Later that afternoon, Defendant Murphy forwarded an internal email chain dating

        back to July 2017 between Defendant Murphy and two points of contact at a




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               client containing (i) Plaintiffs’ marketing strategy and talking points for pitching

               business, (ii) the names and contact information for decision-makers at the client,

               and (iii) a discussion regarding the client’s use of influencer marketing.

   55. It was not until early evening on August 24, 2017, that Defendant Murphy tendered her

letter of resignation, effective immediately. And yet, that same day she continued forwarding

emails to her personal account. Indeed, she forwarded one from earlier that month (containing

detailed research regarding a client’s media and marketing strategy and a discussion of the

impact on Plaintiffs’ business strategy) less than an hour before she tendered her resignation.

   56. Upon her arrival at Ahalogy, Defendant Murphy immediately began using the

information she had stolen from Plaintiffs for her benefit and the benefit of Ahalogy.

   57. For example, minutes before she tendered her resignation on August 24, 2017, Defendant

Murphy had reached out to inform a specific client of Plaintiffs that she was leaving Plaintiffs.

Roughly a month later and after she had joined Ahalogy, she reached out to this same client

directly to inform the client that she had moved to Ahalogy, requested a meeting to pitch

Ahalogy’s services, and included a paragraph-long description explaining “What Makes Ahalogy

different”—the clear implication being that what made Ahalogy different is also what made

Ahalogy better than Plaintiffs.

The Terms of the Employment Agreement

   58. The Employment Agreement with Collective Bias that Defendant Murphy signed

includes a “Confidentiality” provision pursuant to which Defendant Murphy acknowledged and

agreed that in the course of her employment, she would have access to broad categories of

“Confidential and Propriety Information” (as defined therein) and that she would treat such

information as confidential, not use such information except in furtherance of the business of




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Collective Bias, and not deliver copies of the information to anyone except to the extent

authorized by Collective Bias or required in the ordinary course of her employment.

   59. The Employment Agreement includes a “Client Information” provision pursuant to

which Defendant Murphy acknowledged and agreed that in the course of her employment, she

would have access to broad categories of confidential information of Collective Bias’s clients,

and that she would not disclose such information to anyone without Collective Bias’s consent,

and that upon termination of her employment, she would return to Collective Bias “all property

of any client or prospective client of Employer” that was in her possession.

   60. The Employment Agreement includes an “Employer Property” provision pursuant to

which Defendant Murphy acknowledged and agreed that all property of Collective Bias

(including customer lists and other items relating to the business of Collective Bias) coming into

her possession during the course of her employment would remain the property of Collective

Bias, and that upon termination of her employment, she would return it to Collective Bias

“immediately.”

   61. The Employment Agreement also includes a “Restrictive Covenants” provision pursuant

to which Defendant Murphy acknowledged and agreed to the following reasonable restrictions:

           a. NON-COMPETE. Employee agrees that during the term of employment
              and for a period of one (1) year following the termination of Employee’s
              employment, with or without cause, with or without notice, by either party,
              Employee will not, directly or indirectly, render services to any social media
              or shopper marketing company or agency in the United States that is a direct
              competitor to any account to which Employee was principally assigned at
              any point during the twelve (12) month period preceding his/her separation
              with the Company.

           b. Employee agrees that during the term of employment and for a period of
              one (1) year, following the termination of Employee’s employment, with or
              without cause, with or without notice, by either party, Employee will not,
              directly or indirectly solicit any customer or potential customer of Employer
              with whom Employee had contact or for whose account Employee worked



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               during the last twelve (12) months of Employee’s employment with
               Employer.

           c. Employee agrees that for a period of one (1) year following the termination
              of Employee’s employment, with or without cause, with or without notice,
              by either party, Employee will not, directly or indirectly attempt to
              encourage, induce, or otherwise solicit, directly or indirectly, any other
              employee of Employer to breach his or her employment agreement with
              Employer or to otherwise interfere with the advantageous business
              relationship of Employer with its employees.

           d. Employee further acknowledges that: (1) in the event his/her employment
              with the Employer terminates for any reason, he/she will be able to earn a
              livelihood without violating the foregoing restrictions and that (2) that
              his/her ability to earn a livelihood without violating such restrictions is a
              material coordination to his/her employment with Employer.

   62. Defendant Murphy also agreed that any breach by her of the Employment Agreement

could not reasonably or adequately be compensated in damages in an action at law, and that

Collective Bias would be entitled to an injunctive relief to vindicate its rights under the

Employment Agreement.

The Terms of the CAPRAA

   63. The CAPRAA that Defendant Murphy also signed includes a “Disclosure and Usage

Restrictions” provision pursuant to which Defendant Murphy acknowledged and agreed that she

would not disclose or permit access to the “Confidential Information” (as defined therein) of

Inmar and its subsidiaries (the “Company”) except to other employees in the good faith

performance of her employment duties or with the authorization of the Company, and that she

“would not use the Company’s Confidential Information for any purpose other than performing

services for and on behalf the Company” within the proper scope of her job duties.

   64. The CAPRAA includes a “Publications” provision pursuant to which Defendant Murphy

acknowledged and agreed that she would not publish or submit for publication or otherwise share

the Company’s Confidential Information because such disclosure could cause harm to the



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Company, including “by eliminating or diminishing the Company’s or its Affiliates’ competitive

advantage.”

   65. The CAPRAA includes a “Confidential Treatment of Third Party Information” provision

pursuant to which Defendant Murphy acknowledged and agreed that in the course of her

employment, she would have access to broad categories of confidential information of third

parties (such as the Company’s clients), and that she would hold such information in the strictest

confidence and not use that information unless such use is permitted by the Company or the third

party.

   66. The CAPRAA includes a “Tangible Materials” provision pursuant to which Defendant

Murphy acknowledged and agreed that the Company retained sole ownership rights in all

tangible materials provided to her by the Company and all tangible embodiments of and copies

of “Proprietary Work Product” (as defined therein) and the Company’s Confidential Information.

   67. The CAPRAA includes a “General Duty of Loyalty Provision” pursuant to which

Defendant Murphy acknowledged and agreed that during her period of employment, she owed

the Company a general duty of loyalty, and further acknowledged and agreed that (among other

things) she would not (i) usurp or divert for her own account or for any third party any business

opportunity or potential business opportunity for the Company, (ii) interfere with the Company’s

existing business relationships, or (iii) compete against the Company’s then-existing business or

business plans.

   68. The CAPRAA also includes a “Covenant Not To Compete” provision pursuant to which

Defendant Murphy agreed to the following reasonable restrictions:

         You covenant and agree that during the “Non-Competition Period” and within the
         “Non-Competition Area,” as defined below, you shall not engage in the “Business,”
         as defined in Section 11 below in the same or substantially similar capacity in which
         you engaged in the Business on behalf of the Company. Specifically, but without



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       limiting the foregoing, you agree that during such period and within such area, you
       shall not do any of the following: (a) be an owner of any capital stock, other equity
       securities or ownership interests of any Business Entity (as defined herein) that
       conducts a business of a like or similar nature to the business; provided however
       that you may own up to five percent (5%) of the stock of a corporation traded on a
       national securities market in the United States of America or Canada; or (b) be an
       employee, officer, director, principal, agent, consultant, lender to, independent
       contractor or trustee of any Business Entity or other person that conducts a business
       of a like or similar nature to the business.

   69. The CAPRAA defines “Business Entity” as “[a]ny corporation, sole proprietorship,

general or limited partnership, limited liability company, joint venture, trust, unincorporated

association or any other business entity.”

   70. The CAPRAA defines “Non-Competition Period” as follows:

       [T]he period of your employment with the Company (the “Employment Term”)
       and for a period of two (2) years after termination of the employment relationship
       between the parties for any reason (such period not to include any period(s) of
       violation or period(s) of time required for litigation to enforce the covenants set
       forth herein.)

   71. The CAPRAA defines “Non-Competition Area” as “the entire United States of America

and Canada” based on Defendant Murphy’s acknowledgement and agreement that:

       [T]he Company does business on a nationwide basis in the United States of
       America and Canada, and that a breach of your covenants contained herein would
       immeasurable and irreparably damage the Company, regardless of the area in which
       the competing business is located in which the activities constituting such breach
       were to occur.

   72. The CAPRAA defines “Business” as “any business or service engaged in, as well as any

new products or service offerings for which there is substantial development or market launch

plans, by the Company or any of its Affiliates for which you have provided services during the

term of your employment.”

   73. The CAPRAA also includes a “Non-Solicitation Covenant” provision pursuant to which

Defendant Murphy agreed to that during the Non-Competition Period, she would not:




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   (a) [F]or yourself, or on behalf of any other person or Business Entity solicit, divert or take
   away, or attempt to solicit, divert, or take away any of the customers, or prospective customers
   of the Company with whom you had contact during the twelve (12) months prior to the
   termination of your employment relationship with the Company; or (b) induce (or assist any
   other person to induce) any person to leave the employ of the Company.

   74. Defendant Murphy agreed that the foregoing restrictions are reasonable.

                                          COUNT I
              Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq.
                                (Against Murphy and Ahalogy)

   75. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   76. The Defend Trade Secrets Act prohibits the misappropriation of trade secrets.

   77. Plaintiffs have developed and own valuable trade secrets related to products and services

used in, or intended for use in, interstate or foreign commerce.

   78. Those trade secrets are financial, business, scientific, technical, economic, and

engineering information, including patterns, plans, compilations, program devices, formulas,

designs, prototypes, methods, techniques, processes, procedures, programs, and codes, both

tangible and intangible and stored, compiled, and memorialized physically, electronically,

graphically, and photographically, and include:

           a. Customer information, including the identity of current, former, and prospective

               customers and the identity of and contact information for the decision-makers at

               the customers;

           b. Influencer information, including the identity of current, former, and prospective

               influencers, and the contact information for the influencers;

           c. Business intelligence and research regarding current, former, and prospective

               customers, including their marketing and sales strategies; and,




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           d. Information regarding Collective Bias’s product offerings (including the design

               and functionalities of its Shopper Social Media™ platform, Prescriptive IQ™

               platform, and Social Fabric® community), positioning in the market, pricing,

               competitive differentiators, territory and account plans, lead sources, rate cards,

               budget templates, timeline standards, business opportunities, and research

               dossiers.

   79. This information has value because it is not generally known and is not readily

ascertainable. Plaintiffs have spent a significant amount of time and devoted substantial

resources to developing this information, and through it Plaintiffs are able to operate and grow

their business in a way that is difficult for their competitors to duplicate.

   80. Because this information has value by virtue of its secrecy, and Plaintiffs have taken

reasonable measures to keep it secret. Those measures include implementing policies intended

to support Plaintiffs’ efforts to maintain the secrecy of their trade secrets; limiting access to

hardware, software, and physical locations using passwords, keys, key cards, and security

personnel; terminating access to confidential information at the conclusion of employment and

requiring its return; and procuring nondisclosure, non-solicitation, and noncompetition

agreements.

   81. Defendants have obtained economic benefit from the theft of these trade secrets,

including winning new customers based on the unauthorized disclosure and use of the

information.

   82. Defendants used improper means to acquire these trade secrets knowing (and having

reason to know) that the acquisition was improper. Indeed, despite being obligated to maintain

the confidentiality of the information, and after accepting the offer of employment with Ahalogy




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but before ending her employment relationship with Plaintiffs, Defendant Murphy accessed

Plaintiffs’ systems without authorization and/or exceeding her authorization, collected this

information, and emailed it to her personal email account in order to benefit herself and Ahalogy.

   83. As a result of Defendants’ unlawful actions, Plaintiffs have suffered harm, including the

loss of business and the diminution in value of their confidential information, damaging

Plaintiffs in an amount to be determined at trial.

                                           COUNT II
               Violation of the Illinois Trade Secrets Act, 765 ILCS 1065 et seq.
                                (Against Murphy and Ahalogy)

   84. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   85. The Illinois Trade Secrets Act also prohibits the misappropriation of trade secrets.

   86. As a result of Defendants’ unlawful actions, Plaintiffs have suffered harm, including the

loss of business and the diminution in value of their confidential information, damaging

Plaintiffs in an amount to be determined at trial.

                                            COUNT III
                                 Breach of Contract (Michigan Law)
                                         (Against Murphy)

   87. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   88. A breach of contract occurs under Michigan law (the law by which the parties agreed the

Employment Agreement would be governed) where there was a contract which the other party

breached thereby resulting in damages to the party claiming a breach.

   89. On or about November 19, 2015, Defendant Murphy and Collective Bias (both of whom

were competent to enter into a binding agreement) entered into a valid, enforceable contract




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when they each signed the Employment Agreement signifying their intent to be bound by the

Employment Agreement.

   90. The Employment Agreement was supported by valid consideration. Among other things,

and pursuant to the terms of the Employment Agreement (summarized herein), Collective Bias

agreed to employ Defendant Murphy in exchange for Defendant Murphy’s agreement to:

           a. Maintain the confidentiality of Collective Bias’s Confidential or Proprietary

               Information and its client’s confidential information;

           b. At the conclusion of her employment, return to Collective Bias all of Collective

               Bias’s property and all Confidential or Proprietary Information;

           c. At the conclusion of her employment, and for a period of one year thereafter, not

               directly or indirectly compete with Collective Bias per the terms of the

               Employment Agreement; and,

           d. At the conclusion of her employment, not directly or indirectly solicit any

               customer or potential customer of Collective Bias per the terms of the

               Employment Agreement.

   91. Defendant Murphy expressly agreed that these restrictions were reasonable and would

not preclude her from earning a livelihood.

   92. Defendant Murphy also agreed that any breach could not reasonably or adequately be

compensated in damages in an action at law, and that Collective Bias would be entitled to

injunctive relief for any breach.

   93. These terms of the Employment Agreement survived the termination of Defendant

Murphy’s employment.




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   94. Notwithstanding the foregoing agreement, and in breach thereof, Defendant Murphy,

immediately following the end of her employment relationship with Plaintiffs and before the

expiration of one year, began working for Ahalogy—a social media and marketing company that

is a direct competitor of Collective Bias—and soliciting the business of customers and potential

customers of Collective Bias with whom she had contact or for whose account she worked

during the twelve months immediately preceding the termination of the employment relationship.

   95. In further breach of the Employment Agreement, Defendant Murphy also personally

collected, and failed to return to Collective Bias upon the termination of the employment

relationship, Collective Bias’s property and Confidential or Proprietary Information and its

clients’ confidential information; delivered and disclosed to Ahalogy the property and

information; and employed it for her benefit and the benefit of Defendant Ahalogy rather than

for the sole furtherance of the business of Collective Bias.

   96. As a direct result of these breaches of the Employment Agreement, Plaintiffs have

suffered harm, including the loss of business and the diminution in value of the Confidential or

Proprietary Information, damaging Plaintiffs in an amount to be determined at trial.

                                         COUNT IV
                           Breach of Contract (North Carolina Law)
                                      (Against Murphy)

   97. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   98. A breach of contract occurs under North Carolina law (the law by which the parties

agreed the CAPRAA would be governed) where there is a valid contract and that contract is

breached.




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   99. On or about December 27, 2016, Defendant Murphy and Inmar (both of whom were

competent to enter into a binding agreement) entered into a valid, enforceable contract when on

December 23, 2016 and December 27, 2016 they each respectively signed the CAPRAA

signifying their intent to be bound by the CAPRAA.

   100. The CAPRAA was supported by valid consideration. Among other things, and pursuant

to the terms of the CAPRAA (summarized herein) Inmar agreed to employ Murphy and make

available to her all the additional benefits of being employed by Inmar in exchange for

Defendant Murphy’s agreement to:

           a. Maintain the confidentiality of Plaintiffs’ Confidential Information and third

               parties’ confidential information;

           b. At the conclusion of her employment, return to Plaintiffs all of their property and

               all Confidential Information;

           c. Abide by her duty of loyalty to Plaintiffs;

           d. Abide by the terms of the non-compete;

           e. Abide by the terms of the non-solicitation.

   101. Defendant Murphy expressly agreed that these restrictions were reasonable.

   102. Defendant Murphy also agreed that any breach of the CAPRAA could not reasonably or

adequately be compensated in damages in an action at law, and that Inmar would be entitled to

injunctive relief for any breach.

   103. These terms of the CAPRAA survived the termination of Defendant Murphy’s

employment.

   104. Notwithstanding the foregoing agreement, and in breach thereof, Defendant Murphy,

immediately following the end of her employment relationship with Plaintiffs and before the




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expiration of two years, began (i) working in Chicago for Ahalogy and (on information and

belief) receiving stock in Ahalogy—a company that conducts a business of a like or similar

nature to the business services engaged in by Plaintiffs—in the same or substantially similar

capacity in which she worked for Plaintiffs, and (ii) soliciting the business of customers and

prospective customers of Plaintiffs with whom she had contact during the twelve months

immediately preceding the termination of the employment relationship.

   105. In further breach of the CAPRAA, Defendant Murphy also personally collected and

failed to return to Plaintiffs upon the termination of the employment relationship Plaintiffs’

property and Confidential Information and confidential information of third parties; delivered

and disclosed to Ahalogy that property and information; and employed it for her benefit and the

benefit of Defendant Ahalogy rather than for the sole furtherance of the business of Plaintiffs.

   106. Defendant Murphy also violated her duty of loyalty by engaging in the conduct

described above.

   107. As a direct result of these breaches of the CAPRAA, Plaintiffs suffered harm, including

the loss of business and the diminution in value of the Confidential Information, damaging

Plaintiffs in an amount to be determined at trial.

                                        COUNT V
          Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq.
                              (Against Murphy and Ahalogy)

   108. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   109. The Computer Fraud and Abuse Act prohibits unauthorized access of protected

computers.




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   110. As described above, Plaintiffs provided Defendant Murphy with a computer, an email

account, and access to Plaintiffs’ facilities and other computers for use in the performance of her

employment. That computer, email account, and access provided access to worldwide

communications through applications accessible via the internet.

   111. Defendant Murphy used that computer, email account, and access to work and

communicate with clients and prospective clients located across the country, as well as work and

communicate with Plaintiffs’ other employees also located across the country (including in

Illinois, in Arkansas, and in North Carolina) and to access Plaintiffs’ interstate computer network

and servers on which files were stored.

   112. As detailed above, Defendant Murphy agreed in the Employment Agreement and

CAPRAA to return Plaintiffs’ property at the conclusion of her employment, maintain the

confidentiality of the Confidential or Proprietary Information and Confidential Information, and

not access or use the information except in the course of her employment for the benefit of

Plaintiffs. Defendant Murphy also owed Plaintiffs a duty of loyalty. Defendant Murphy’s use of

her computer and email account and access to facilities and other computers was limited by these

obligations.

   113. Defendant Murphy, however intentionally used her computer, email account, and

Plaintiffs’ facilities and other computers for a different purpose (which she accomplished): to

obtain Plaintiffs’ Confidential or Proprietary Information and Confidential Information for her

own enrichment and that of Defendant Ahalogy. That access therefore was intentional, without

authorization, and/or exceeded her authorized access.




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   114. These actions caused damage and loss. The loss includes the cost of responding to the

Defendants’ unlawful actions and conducting damage assessment, which is ongoing and will

exceed $5,000 well before the expiration of a one year period.

   115. Defendant Ahalogy conspired with Defendant Murphy in the commission of these

unlawful acts.

   116. Defendants therefore violated 18 USC §§ 1030(a)(2)(C), (a)(5)(C), and (b), damaging

Plaintiffs in an amount to be determined at trial.

                                             COUNT VI
                                 Tortious Interference with Contract
                                          (Against Ahalogy)

   117. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   118. As detailed above, valid contracts existed between Plaintiffs and Defendant Murphy.

   119. Defendant Ahalogy was aware of these contracts, but nevertheless hired Defendant

Murphy with the knowledge and intent that Defendant Murphy would breach those contracts as

its new Director of Sales.

   120. As detailed above, Defendant Murphy did breach those contracts, damaging Plaintiffs in

an amount to be determined at trial.

                                            COUNT VII
                                            Conversion
                                   (Against Murphy and Ahalogy)

   121. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   122. As detailed above, Defendant Murphy agreed in the Employment Agreement and

CAPRAA to return Collective Bias’s property at the conclusion of her employment, maintain the




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confidentiality of the Confidential or Proprietary Information and Confidential Information, and

not access or use the information except in the course of her employment for the benefit of

Plaintiffs.

    123. As also detailed above, Defendant Murphy, without authorization and/or exceeding her

authorization, obtained and failed to return Plaintiffs’ property and Confidential or Proprietary

Information and Confidential Information for her own enrichment and that of Defendant

Ahalogy.

    124. Plaintiffs had a right to the property and Confidential or Proprietary Information and

Confidential Information, and an unconditional right to the immediate possession of it.

    125. By obtaining, using, and disclosing the property and information, the value of it has

already diminished such that its return would not alleviate Plaintiffs’ loss, damaging Plaintiffs in

an amount to be determined at trial.

                                          COUNT VIII
                                      Trespass to Chattels
                                 (Against Murphy and Ahalogy)

    126. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

    127. By obtaining and failing to return Plaintiffs’ property and Confidential or Proprietary

Information and Confidential Information and instead using it for their own enrichment,

Defendants dispossessed Plaintiffs of the property and Confidential or Proprietary Information

and Confidential Information (because once used and disclosed, it no longer had the value it did

before Defendants’ unlawful actions), damaging Plaintiffs in an amount to be determined at trial.




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                                          COUNT IX
                                      Unjust Enrichment
                                 (Against Murphy and Ahalogy)

   128. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   129. By virtue of having collected and used Plaintiffs’ property and Confidential or

Proprietary Information and Confidential Information, Defendants unjustly retained a benefit to

the detriment of Plaintiffs, and that retention violates fundamental principles of justice and

equity.

   130. In so doing, Defendants dispossessed Plaintiffs of the property and Confidential or

Proprietary Information and Confidential Information (because once used and disclosed, it no

longer had the value it did before her unlawful actions), damaging Plaintiffs in an amount to be

determined at trial.

                                           COUNT X
                                        Civil Conspiracy
                                 (Against Murphy and Ahalogy)

   131. Plaintiffs re-allege and incorporate by reference each and every foregoing paragraph as

though set forth fully herein.

   132. When, as detailed above, Defendants met and had discussions regarding hiring

Defendant Murphy for the role of Director of Sales, they formed an agreement to undertake all of

the foregoing unlawful conduct.

   133. The foregoing unlawful conduct (such as Defendant Murphy accessing Plaintiffs’

systems to obtain Plaintiffs’ property and Confidential or Proprietary Information and

Confidential Information for Defendants’ use) was taken in furtherance of that agreement.

   134. Plaintiffs have been damaged as a result in an amount to be determined at trial.




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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court issue the following relief:

   1. Enter judgment in Plaintiff’s favor on Counts I through X of this Complaint;

   2. Issue an injunction to prevent misappropriation of and protect Plaintiffs’ trade secrets on

       such terms as the court deems reasonable;

   3. Issue an injunction requiring Defendant Murphy to honor her obligations under the

       Employment Agreement and CAPRAA;

   4. Issue an injunction requiring Defendants Murphy and Ahalogy to cease use of and return

       to Collective Bias and Inmar all property and information unlawfully obtained by and

       through Defendant Murphy;

   5. Award Plaintiffs monetary damages and interest (including exemplary and punitive

       damages, as appropriate);

   6. Award Plaintiffs their reasonable attorneys’ fees and costs of litigation; and,

   7. Award Plaintiffs any further relief the Court deems just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury of all issues so triable.




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Dated: March 29, 2018                    Respectfully Submitted,

                                         /s/ Justin O. Kay____________

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